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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

UNITED STATES OF AMERICA                           }
                                                   }
VS.                                                }   CRIMINAL ACTION NO. H-92-137-2
                                                   }    CIVIL ACTION NO. H-07-478
ESNORALDO DE JESUS POSADA-RIOS;                    }
aka JUAN FRANCISCO PEREZ; aka
HECTOR FUENTES


                                       OPINION & ORDER

               Pending before the Court are Magistrate Judge Stacy’s Memorandum and

Recommendation (Doc. 2198); and Petitioner Esnoraldo De Jesus Posada-Rios’s (“Petitioner”)

Objections thereto (Doc. 2199).

               Petitioner filed his § 2255 motion after the one-year statute of limitations imposed

by AEDPA expired. He argues, however, that the statute of limitations should be equitably

tolled because of excusable neglect. Specifically, Petitioner argues that he 1) could not file his

motion without a complete set of his legal papers and transcripts and 2) could not file his motion

without Spanish language legal assistance.

               The recommendation relies on persuasive legal authorities that equitable tolling of

the AEDPA limitations period does not occur on grounds of lack of English-speaking ability.

For example, “[i]nability to speak or read the English language is a disability common to many

incarcerated persons and as such it does not warrant equitable tolling.” See Zinsou v. Dretke,

2004 U.S. Dist. LEXIS 26203, 2004 WL 2381243, *1, 4:04cv566-A (N.D.Tex. Oct. 22, 2004)

(adopting recommendation of the magistrate judge) (citing Cobas v. Burgess, 306 F.3d 441, 444

(6th Cir. 2002), cert. denied, 538 U.S. 984, 155 L. Ed. 2d 677, 123 S. Ct. 1793 (2003) (the

inability to read and speak English is not in itself a sufficient basis for equitable tolling)); United



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States v. Cordova, 202 F.3d 283, 1999 WL 1136759 (10th Cir., Dec. 13, 1999) (unpublished

opinion) (inability to read and speak English language does not warrant equitable tolling); United

States v. Teshima-Jiminez, 1999 U.S. Dist. LEXIS 12377, No. CRIM. 97-087, 1999 WL 600326

at *2 (E.D.La. Aug. 5, 1999) ("lack of legal research material and assistance" and "little English

spoken" in petitioner's prison not "rare and exceptional circumstances" to justify equitable

tolling). The Court finds these authorities should be followed.

               As Petitioner points out, the Supreme Court has recognized a general

Constitutional right that non-English speaking inmates be granted adequate legal assistance.

Lewis v. Casey, 518 U.S. 343, 357 (U.S. 1996). This does not meant that they require the

assistance of bilingual counsel, but that bilingual legal assistants or some equivalent be made

available by the prisons. Id. The Supreme Court, however, has not addressed the specific issue

of equitable tolling based on the failure to provide legal assistance in the inmates’ language.

Therefore, this Court declines to find that Lewis bears on this question. All the remaining legal

authorities Petitioner relies on are non-persuasive, not on point or non-controlling.

               Furthermore, the Court has previously found that Petitioner did not have a right to

transcripts until after he had filed a section 2255 motion and demonstrated it was non-frivolous.

As for his other legal papers, the Court has held an evidentiary hearing where the Court

ascertained that the Board of Prisons would not permit Petitioner access to the documents

because of the risk to security.

               In conclusion, Petitioner has filed his section 2255 motion over seven years after

the deadline. He makes a less than credible argument that in this length of time he could not

bring his claim because of Spanish language barriers within the prison, which he has now

overcome. The recommendation competently relied on numerous persuasive authorities from the




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Fifth Circuit district courts to find that there is no equitable tolling on these grounds, even if true.

Petitioner’s objections consist only of the presentation of a Supreme Court case that does not

address equitable tolling and other cases that are not from the Fifth Circuit and therefore not

controlling.

                Accordingly, it is hereby, ORDERED that the Magistrate Judge’s

Recommendation is FULLY ADOPTED;

                And, it is further, ORDERED that this § 2255 proceeding be DISMISSED as

time-barred.


                SIGNED at Houston, Texas, this 16th day of April, 2009.


                                                    ___________________________________
                                                             MELINDA HARMON
                                                      UNITED STATES DISTRICT JUDGE




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